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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

         Debtors.                                                 (Jointly Administered)

ALAMEDA RESEARCH LTD., WEST REALM
SHIRES, INC., and WEST REALM SHIRES
SERVICES, INC.

                                     Plaintiffs,
                                                                  Adv. Pro. No. 23-50379 (JTD)
                          -against-

ROCKET INTERNET CAPITAL PARTNERS II
SCS, ROCKET INTERNET CAPITAL
PARTNERS (EURO) II SCS, GFC GLOBAL
FOUNDERS CAPITAL GMBH, GFC GLOBAL
FOUNDERS CAPITAL GMBH & CO.
BETEILIGUNGS KG NR. 1, WILLIAM
HOCKEY LIVING TRUST, and 9YARDS
CAPITAL INVESTMENTS II LP,

                                     Defendants.


                          NOTICE OF INTENT TO SERVE SUBPOENA
                       ON NON-PARTY APEX FINTECH SOLUTIONS INC.

         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 45, made

applicable to this proceeding by Rule 9016 of the Federal Rules of Bankruptcy Procedure, counsel

for Plaintiffs Alameda Research Ltd., West Realm Shires, Inc., and West Realm Shires Services,

Inc. in the above-captioned adversary proceeding, will cause the attached subpoenas for document

production to be served upon Apex Fintech Solutions Inc.


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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Dated: August 28, 2023            LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                  /s/ Matthew B. McGuire
                                  Adam G. Landis (No. 3407)
                                  Matthew B. McGuire (No. 4366)
                                  Kimberly A. Brown (No. 5138)
                                  Matthew R. Pierce (No. 5946)
                                  919 Market Street, Suite 1800
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 467-4400
                                  Facsimile: (302) 467-4450
                                  E-mail: landis@lrclaw.com
                                          mcguire@lrclaw.com
                                           brown@lrclaw.com
                                           pierce@lrclaw.com

                                  -and-

                                  QUINN EMANUEL URQUHART &
                                  SULLIVAN LLP
                                  Sascha N. Rand
                                  Isaac Nesser
                                  51 Madison Avenue, 22nd Floor
                                  New York, NY 10010
                                  Telephone: (212) 849-7000
                                  Facsimile: (212) 849-7100
                                  E-mail: sascharand@quinnemanuel.com
                                  isaacnesser@quinnemanuel.com

                                  William Burck
                                  1300 I Street NW
                                  Suite 900
                                  Washington, D.C. 20005
                                  Telephone: (202) 538-8000
                                  Facsimile: (202) 538-8100
                                  E-mail: williamburck@quinnemanuel.com

                                  K. John Shaffer
                                  865 S. Figueroa St., 10th Floor
                                  Los Angeles, CA 90017
                                  Telephone: (213) 443-3000
                                  Facsimile: (213) 443-3100
                                  E-mail: johnshaffer@quinnemanuel.com

                                  Counsel for the Debtors
                                  and Debtors-in-Possession

                                         2
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
                                 For the
  _________________________________________                     Delaware
                                            District of _________________________________________
       FTX Trading Ltd., et al
In re __________________________________________
                                    Debtor
                                                                                              22-11068 (JTD)
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                              11
                                                                                     Chapter ___________
 ALAMEDA RESEARCH LTD, et al.
_________________________________________
                                    Plaintiff
                                       v.                                                           23-50379 (JTD)
                                                                                     Adv. Proc. No. ________________
 ROCKET INTERNET CAPITAL PARTNERS II SCS, et al.
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

      Apex Fintech Solutions Inc., c/o Incorporating Services, Ltd., 3500 S. Dupont Highway, Dover, DE 19901
  To: ________________________________________________________________________________________
                                             (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material:

  PLACE Landis Rath & Cobb LLP, 919 N. Market Street, Suite 1800                                             DATE AND TIME
        Wimington, Delaware 19801                                                                            December 8, 2023 at 5:00 p.m. (ET)


      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        August 28, 2023
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
Alameda Research Ltd., West Realm Shires, Inc.
   ____________________________
West Realm Shires Services , Inc.            , who issues or requests this subpoena, are:
   Matthew B. McGuire, Esq., Landis Rath & Cobb LLP, 919 N. Market Street, Ste. 1800, Wilmington, DE 19801, Tel. (302) 467-4400, Email: mcguire@lrclaw.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                          EXHIBIT A

                                         DEFINITIONS

For purposes of the Document Requests, the following terms shall apply:

       1.      The terms “and” and “or” in Definitions and Requests shall be construed

conjunctively or disjunctively as necessary to bring within the scope of the Requests all Documents

or information that might otherwise be construed as outside their scope.

       2.      “Affiliate” has the meaning ascribed to such term in section 101(2) of the

Bankruptcy Code.

       3.      “Agreement and Plan of Merger” means the Agreement and Plan of Merger dated

as of June 10, 2022, by and among West Realm Shires, Inc., Ingrained Merger Sub, Inc., Embed

Financial Technologies Inc., and Shareholder Representative Services LLC as Holder

Representative.

       4.      “Acquisition” means the transaction between WRS and Defendants by which WRS

agreed to acquire all of the equity interest in Embed pursuant to the Agreement and Plan of Merger.

       5.      “Auction” means the process by which the Debtors solicited bids for the sale of

Embed, in accordance with the Bid Procedures approved by the Bankruptcy Court, and all

activities conducted by You, the Debtors, Perella Weinberg, and other third parties in furtherance

of this process.

       6.      “Bid” means any offer to purchase the equity of Embed submitted by any Auction

Participant at any time during the Auction.

       7.      “Communication,” or any variant thereof, means any contact between two or more

persons by which any information or knowledge is transmitted or conveyed, or attempted to be

transmitted or conveyed, and shall include, without limitation, written contact by means such as

letters, memoranda, telecopies, text messages, instant messages, Slack messages, Signal messages,
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Telegram messages, emails, social media, or any other document, and oral contact, such as face-

to-face meetings, videoconference or telephone conversations, or social media.            The term

“Communication” is not limited to internal Communications but includes Communications

between the Debtors and third parties and Communications between or among third parties.

       8.      “Debtors” means, collectively, FTX Trading Ltd. and its affiliated entities, as

debtors-in-possession, as applicable, which filed voluntary chapter 11 petitions under the

Bankruptcy Code commencing these chapter 11 cases.

       9.      “Document” has the meaning prescribed by Rule 7034 of the Bankruptcy Rules,

including, without limitation, any tangible thing upon which any expression, Communication or

representation has been recorded by any means including, but not limited to, handwriting,

typewriting, printing, photostating, photographing, videotaping, magnetic impulse, computer

disks, computer storage drives, computer tapes, or mechanical, electronic or digital recording or

information storage of any kind, and any nonidentical copies (whether different from the original

because of notes made on such copies, because of indications that said copies were sent to different

individuals than were the originals, or because of any other reason), including but not limited to

working papers, preliminary, intermediate or final drafts, correspondence, memoranda, electronic

mail, charts notes, records of any sort of meetings, financial calculations, diaries, reports of

telephone or other oral conversations, desk calendars, appointment books, and all other writings

and recordings of every kind that are in your actual or constructive possession, custody, or control.

       10.     “Due Diligence” means any examination, evaluation, or verification of Embed’s

business, operations, and technology, including but not limited to accounting, financial, legal, and

technical review or evaluation performed by You or any third party in connection with the Embed

Auction.



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       11.       “Embed” means Embed Financial Technologies Inc. as well as any Affiliates,

agents, assigns, directors, employees, officers, parents, partners, representatives, subsidiaries, or

any other Persons acting or purporting to act on their behalf, and any predecessor or successor of

the foregoing.

       12.       “Embed Employees” means any of the individuals listed in Appendix A.

       13.       “Former Holders of Equity of Embed” means former holders of Embed

(a) shares, (b) options, and (c) simple agreements for future equity (“SAFEs”), as well as any

Affiliates, agents, assigns, directors, employees, officers, parents, partners, representatives,

subsidiaries, or any other Persons acting or purporting to act on their behalf, and any predecessor

or successor of the foregoing.

       14.       “Identify,” or any variant thereof, means: (i) in relation to a natural person, to

establish a person’s identity such that the identity of the person will be ascertainable distinctly

from all other like persons, and to provide the person’s current or last known employer, current or

last known mailing address, and current or last known telephone number; or (ii) in relation to a

document or item, to establish the document or item’s identity such that the identity of the

document or item will be ascertainable distinctly from all other like documents or items, and to

state the name and address of the custodian of the document or item, the location of the document

or item, and a general description of the document or item.

       15.       “Including” means “including, but not limited to” and “including, without

limitation.”

       16.       “Indication of Interest” means a non-binding communication outlining the terms

of a proposed sale of Embed, submitted to the Debtors by any person who is interested in entering

the Auction as an Auction Participant.



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          17.   “Perella Weinberg” means Perella Weinberg Partners.

          18.   “Person” includes both the singular and the plural, and means any natural person

business entity, corporation, cooperative, public corporation, partnership, association, joint

venture, firm, organization, or other business enterprise or legal entity.

          19.   “Relating to,” “Related to” or “Concerning,” or any variant thereof, means,

without limitation, referring to, concerning, pertaining to, discussing, mentioning, containing,

reflecting, constituting, describing, displaying, showing, identifying, proving, disproving,

consisting of, arising out of, supporting or contradicting.

          20.   “WRS” means West Realm Shires, Inc. and its direct and indirect Affiliates.

          21.   “You,” “Your,” or any variant thereof, refers to Apex Fintech Solutions Inc., as

well as any Affiliates, agents, assigns, directors, employees, officers, parents, partners,

representatives, subsidiaries, or any other Persons acting or purporting to act on their behalf, and

any predecessor or successor of the foregoing.

                                         INSTRUCTIONS

          1.    Unless otherwise specified, the responsive period for each Request is from January,

2020 through the present (the “Relevant Period”).

          2.    All discovery in connection with these Requests shall be subject to and conducted

in accordance with the terms of the Stipulation and Protective Order [D.I. 832] in these chapter 11

cases.

          3.    You are instructed to respond separately to each Request and to produce all

Documents responsive to the Requests that are within Your possession, custody, or control, or in

the possession, custody, or control of any other Person or entity acting or purporting to act on Your

behalf.



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        4.      If You cannot fully respond to the following one or more of the Requests after

exercising due diligence to secure the information requested thereby, so state, and specify (a) the

portion of each Request that cannot be responded to fully and completely, (b) what efforts were

made to obtain the requested information, (c) the facts relied upon that support Your contention

that the Request(s) cannot be answered fully and completely, and (d) any knowledge, information

or belief You have concerning the unanswered portion of any such Request(s).

        4.      If there are no Documents responsive to any particular Request, Your response shall

state so in writing.

        5.      Unless instructed otherwise, each Request shall be construed independently and not

by reference to any other Request for the purpose of limitation or exclusion.

        6.      You must answer each Request separately and fully, unless it is objected to, in

which event the objection(s) should be specifically stated.

        7.      If any information requested in a Request is claimed to be privileged or otherwise

immune from discovery, or if any Document is withheld from production based on a claim of

privilege, immunity, or other ground, furnish a list specifying: (a) the nature of the privilege,

immunity, or other ground claimed; (b) the authors of the Document; (c) all persons who received

copies of the Document, including the Document’s indicated and blind copy recipients; (d) the

date of the Document; (e) the type of Document withheld (e.g., memorandum, letter, report, email);

and (f) the general subject matter of the Document sufficient to enable the Debtors to assess the

applicability of the claimed privilege, immunity, or other ground for refusal to produce the

Document.      For each item of information or Document You withhold based on a claim of

privilege, immunity, or other ground, identify such information or Document with sufficient

particularity for purposes of a motion to compel.



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       8.      If a portion of an otherwise responsive Document contains information subject to a

claim of privilege, only that portion of the Document subject to the claim of privilege shall be

deleted or redacted from the Document following the instructions in the preceding paragraph and

the rest shall be produced.

       9.      You shall produce Documents in the following manner and form:

               E-mails.       E-mails shall be produced as single-page TIFF images with

accompanying full text and load file (.DAT). E-mail attachments shall be handled according to

the provisions below applicable to loose electronic Documents and shall not be separated from the

e-mails to which they are attached. Native files for e-mails shall be maintained, and such files

shall be produced upon request.

               Electronic Documents. Word and other electronic Documents shall be produced as

single-page TIFF images with accompanying full text and load file (.DAT). The processed native

for all spreadsheets, except for those requiring redactions, shall be produced as native. Audio,

video, and other files that cannot be converted to image shall also be produced as native. Native

files shall be linked to the database by the metadata field “NativeLink.” Native files for all other

electronic Documents shall be maintained, and such files shall be produced upon request.

               Hard-Copy Documents. Hard-copy Documents shall be produced as single-page

TIFF images with accompanying full OCR text and load file (.DAT). All hard copy documents

should be unitized to the smallest physical boundary.

               TIFF Images Generally. Documents should be produced as single-page, black and

white, group IV TIFFs imaged at 300 dpi. The document’s original orientation should be

maintained (i.e., portrait-to-portrait and landscape-to-landscape). Bates numbers, confidentiality

designations (in accordance with the terms of the Protective Order), and redactions (to the extent



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they are necessary) should be burned into the image. TIFF image files should be provided in an

“Images” folder. All speaker notes, comments, track changes, and hidden text should be expanded,

extracted, and rendered in the TIFF file.

                Extracted Text Files. The full text of native files should be extracted directly from

the native file (not OCR) and should be delivered in an appropriately formatted text file (.txt) that

is named to match the first Bates number of the document. Text files should be provided in a

“Text” folder. To the extent that a document is redacted, the document should undergo OCR after

the text has been redacted in order to remove the redacted text.

                Data Load Files. Database load files should consist of: (1) a comma-delimited

value (“.DAT”) file containing the metadata fields identified in the following paragraph; and (2) an

Opticon (“.OPT”) file to facilitate the loading of TIFF images. The first line of the .DAT file shall

be the header with field names, and each subsequent line shall contain the fielded data for each

Document. All load files should be named to match the production volume name. Bates numbers

and production volume names must not be duplicated and should run consecutively throughout the

entirety of the production(s).

         The following metadata should be supplied, where available:

                                                                            Files and
                                                                                             Hard
 Field                           Description                       E-mail   E-mail
                                                                                             Copy
                                                                            Attachments
 Bates Number Begin              Beginning page                    x        x                x
                                 Bates number
 Bates Number End                Ending page Bates number          x        x                x
 Attachment Begin                Beginning page of                 x        x                x
                                 attachment range
 Attachment End                  Ending page of attachment         x        x                x
                                 range
 Custodian                       Names of custodian who            x        x                x
                                 possessed the document.

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                                                                    Files and
                                                                                  Hard
Field                    Description                       E-mail   E-mail
                                                                                  Copy
                                                                    Attachments
                         For documents from
                         centralized repositories where
                         custodian name(s) are
                         unavailable, identifying source
                         information should be
                         provided.
All Custodians           Names of all individuals or       x        x             x
                         repositories who possessed the
                         document.
File Name                File name of document                      x
File Extension           File extension of document                 x
E-mail Outlook Type      Type of Outlook item, e.g. e-     x
                         mail, calendar item, note, task
Page Count               For documents produced in      x           x             x
                         TIFF form, number of pages in
                         the document. For documents
                         produced in native, page count
                         will be 1 (for placeholder).
E-mail Subject           Subject of e-mail                 x        x
Author                   Document author                            x
From                     E-mail author                     x        x
To                       E-mail recipients                 x        x
CC                       E-mail copyees                    x        x
BCC                      E-mail blind copyees              x        x
Date Sent                Date sent (mm/dd/yyyy             x        x
                         hh:mm:ss format)
Time Sent                Time sent                         x        x
                         (mm/dd/yyyy hh:mm:ss
                         format)
Date Received            Date received (mm/dd/yyyy         x        x
                         hh:mm:ss format)
Time Received            Time received (mm/dd/yyyy         x        x
                         hh:mm:ss format)
Date Created             Date created                               x



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                                                                             Files and
                                                                                              Hard
 Field                         Description                         E-mail    E-mail
                                                                                              Copy
                                                                             Attachments
 DateLastModified              Last modification date                        x
                               (mm/dd/yyyy
                               hh:mm:ss format)
 Hash Value (MD5 or            Unique electronic signature of      x         x
 SHA-1)                        e-mail
                               or electronic file
 Production Volume             Production volume name              x         x                x
 Confidentiality               Confidentiality designation         x         x                x
                               pursuant to the Protective
                               Order
 Redacted                      Descriptor for documents that       x         x                x
                               have been redacted (<yes> or
                               <no>)
 NativeLink                    Logical path to native file                   x                x
 Text Path                     Logical path to text file           x         x                x

         10.   You shall produce all Documents in the manner in which they are maintained in the

usual course of Your business.

         11.   A Request shall be deemed to include a request for the entire Document requested,

including any and all file folders within which the Document was contained, transmittal sheets or

memoranda, cover letters, exhibits, enclosures, comments or attachments to the Document in

addition to the Document itself. In the case of e-mail attachments, if either the e-mail or any of its

attachments is responsive, produce the e-mail and all of the corresponding attachments.

         12.   All Documents shall be produced in such fashion as to identify the custodian or

department in whose possession the Document was found and the business address of each

Document’s custodian(s).

         13.   The fact that a Document is produced by another party does not relieve You of the

obligation to produce Your copy of the same Document, even if the two Documents are identical.


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       14.     If You claim any ambiguity in interpreting either a Request or a definition or

instruction, You should not use that claim as a basis for refusing to respond, but shall set forth as

part of Your response the language deemed to be ambiguous.

       15.     Each Request shall be deemed to be continuing in nature. If at any time additional

Documents or information come into Your possession, custody or control or are brought to Your

attention, prompt supplementation of Your response to these Requests is required.

                                   DOCUMENT REQUESTS

               1.      All Documents relating to Embed’s technology platform, including but not

limited to Documents analyzing, assessing, or otherwise concerning the performance of the

technology platform, any defects affecting the platform, or the platform’s capacity to

accommodate new user accounts.

               2.      All Documents relating to Embed’s business plans, including any plans

concerning the development of Embed’s technology platform.

               3.      All Documents concerning any valuation of Embed.

               4.      All Documents concerning the auction or sale of Embed in connection with

in connection with the Chapter 11 bankruptcy proceeding (Case No. 22-11068), including, but not

limited to:

                       a. All Documents shared between You and any Embed Employee

                           concerning the Auction;

                       b. All Documents provided to You by Perella Weinberg concerning the

                           Auction;

                       c. All Documents relating to the Indication of Interest You submitted in

                           connection with the Auction, including but not limited to all Documents



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         shared between You and any third party relating to any analysis,

         assessment, or discussion of Your Indication of Interest;

      d. All Documents relating to discussion, analysis, or formulation of the

         Purchase Price You provided in connection with Your Indication of

         Interest;

      e. All Documents relating to Due Diligence You and any other person

         performed in connection with the Auction;

      f. All Documents relating to any analysis, assessment, or discussion of the

         valuation of Embed or any Embed assets, including but not limited to

         any Documents provided to You relating to the condition of Embed’s

         business activities, operations, technology, revenues, and growth, at any

         time for purposes of the Auction.

      g. All Documents relating to any analysis, assessment, or discussion of the

         submission of a Bid in the Auction, including but not limited to all

         Documents shared between You and any third party relating to the

         submission of a Bid.




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                                    Appendix A

   Adam Boryenace

   Brandon Mann

   Brent Johnson

   Christopher Young

   Craig Shindledecker

   David Meents

   David Streckert

   Dena Wever

   John Dwyer

   Joshua Allen Slate

   Justin Lovero

   Kiara Baudoin

   Laurence Beal

   Lindsey Boerner

   Matthew Lyon

   Michael Giles

   Mike McGee

   Monique Saugstad

   Paul Trone

   Stanton Camp

   Tana Lawler



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   Tim Millar




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